        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 1 of 10




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


SHELDON J. ENGLISH,
                                                               DECISION
                                 Plaintiff,                      and
             v.                                                 ORDER

INV. K. PERO, Off # RPD, and                                 07-CV-00230F
TECH R. RICE, Off # RPD,                                       (consent)

                                 Defendants.


APPEARANCES:              SHELDON J. ENGLISH, Pro Se
                          14636-055
                          COLEMAN II, U.S. PENITENTIARY
                          Inmate Mail/Parcels
                          P.O. Box 1034
                          Coleman, Florida 33521

                          JEFF EICHNER
                          Acting Corporation Counsel
                          City of Rochester, Law Department
                          MATTHEW D. BROWN, and
                          SPENCER L. ASH,
                          Assistant Corporation Counsel, of Counsel
                          City Hall, Room 400-A
                          30 Church Street
                          Rochester, New York 14614-1295


                                   JURISDICTION

      On June 13, 2007, the parties to this action consented pursuant to 28 U.S.C. §

636(c)(1), to proceed before the undersigned. The matter is presently before the court

on motions for summary judgment filed by Defendants on July 12, 2010 (Doc. No. 30),

and by Plaintiff on December 8, 2010 (Doc. No. 33).
            Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 2 of 10




                                      BACKGROUND and FACTS1

        Plaintiff Sheldon J. English (“Plaintiff” or “English”), proceeding pro se,

commenced this civil rights action on April 6, 2007, alleging that on April 22, 2005, while

Plaintiff was being detained at Monroe County Jail in Rochester, New York, after being

arrested for criminal weapons possession, Defendants Rochester Police Department

(“RPD”) Officers Investigator K. Pero (“Pero”), and Technician R. Rice (“Rice”)

(together, “Defendants”), unlawfully planted illegal narcotics in a vehicle in which

Plaintiff had been a passenger, which were found during an inventory search

subsequent to Plaintiff’s arrest. On October 18, 2005, Plaintiff was indicted by a federal

grand jury in connection with the April 22, 2005 incident on a single count of being a

felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1). (05-CR-6142,

Doc. No. 1)2 (“Indictment”). Following arraignment on the Indictment on October 20,

2005 (05-CR-6142, Doc. No. 8), Plaintiff, by Order filed October 31, 2005 (05-CR-6142,

Doc. No. 10), was ordered detained pursuant to 18 U.S.C. § 3142(e). On March 10,

2006, a hearing was held regarding the continued detention of Plaintiff (05-CR-6142,

Doc. No. 25), and an Order of Detention Pending Trial was filed indicating there was a

serious risk of danger to the safety of another person or the community should Plaintiff



        1
            The Facts are taken from the pleadings and m otion papers filed in this action.

        2
             References to “05-CR-6142" are to the docket for the crim inal proceedings against Plaintiff
which is the predicate for Plaintiff’s civil rights action, and of which the court takes judicial notice. See
Federal Rules of Evidence 201(b) (judicial notice m ay be taken of fact “not subject to reasonable dispute
in that it is either (1) generally known within the territorial jurisdiction of the trial court or (2) capable of
accurate and ready determ ination by resort to resources whose accuracy cannot reasonably be
questioned”); see also Singh v. United States Department of Homeland Security, 526 F.3d 72, 80 & n. 9
(2d Cir. 2008) (taking judicial notice of trial court docket sheet and transcript of plea colloquy which were
not subject to reasonable dispute as establishing the plaintiff had been crim inally convicted).

                                                        2
        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 3 of 10




be released. (05-CR-6142, Doc. No. 26).

       In a Superseding Indictment returned on August 10, 2006, while Plaintiff

remained detained pending trial on the Indictment, Plaintiff was charged with criminal

violations of 18 U.S.C. §§ 922(g)(1) and 924(a)(2), felon in possession of a firearm

(Count 1), and 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), possession with intent to

distribute cocaine (Count 2). (05-CR-6142, Doc. No. 48) (“Superseding Indictment”).

Plaintiff was arraigned on the Superseding Indictment on August 11, 2006. (05-CR-

6142, Doc. No. 50). In a Second Superseding Indictment filed August 24, 2006 (05-

CR-6142, Doc. No. 51) (“Second Superseding Indictment”), charged Plaintiff with the

same two criminal violations charged in the Superseding Indictment, as well as a third

criminal violation of 21 U.S.C. § 924(c)(1), possession of a firearm in furtherance of a

drug trafficking crime (Count 3). Plaintiff was arraigned on the Second Superseding

Indictment on August 25, 2006. (05-CR-6142, Doc. No. 52).

       On February 7, 2007, following a jury trial on the Second Superseding Indictment

in United States District Court, Western District of New York, Plaintiff was acquitted of

counts 2 and 3, but was convicted on Count 1 (felon in possession of a firearm), for

which Plaintiff, on July 11, 2007, was sentenced to 120 months in prison. (05-CR-6142,

Doc. No. 89). Plaintiff’s acquittal on Count 2 and 3 are the basis for the instant action in

which Plaintiff asserts two causes of action for false arrest and malicious prosecution.

       On July 12, 2010, Defendants filed the instant motion seeking summary

judgment (Doc. No. 30) (“Defendants’ motion”), supported by the attached Defendants’

Statement of Facts Not in Dispute Pursuant to Rule 56 (“Defendants’ Statement of

Facts”), the Declaration of Assistant Corporation Counsel Spencer L. Ash in Opposition

                                             3
            Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 4 of 10




to Plaintiff’s Motion to Compel Discovery3 and in Support of Defendants’ Cross-Motion

for Summary Judgment (“Ash Declaration”), Defendants’ Memorandum of Law in

Opposition to Plaintiff’s Motion to Compel Discovery and in Support of Defendants’

Cross-Motion for Summary Judgment (“Defendants’ Memorandum”), and nine exhibits4

(“Defendants’ Exh(s). __”).

        On December 8, 2010, Plaintiff filed a crossmotion for summary judgment (Doc.

No. 33) (“Plaintiff’s motion”), supported by the attached exhibits A through F (“Plaintiff’s

Exh(s). __”). That same day, Plaintiff filed the Declaration of Sheldon J. English in

Opposition to Defendants’ Motion for Summary Judgment (Doc. No. 34) (“Plaintiff’s

Response”). On December 9, 2010, Defendants filed Defendants’ Memorandum of

Law in Opposition to Plaintiff’s Motion for Summary Judgment (Doc. No. 35)

(“Defendants’ Response”). Oral argument was deemed unnecessary.

        Based on the following, summary judgment is GRANTED in favor of Defendants;

and is DENIED as to Plaintiff.



                                               DISCUSSION

        Summary judgment on a claim or defense will be granted when a moving party

demonstrates that there are no genuine issues as to any material fact and that a

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a) and (b);


        3
           Plaintiff’s m otion to com pel discovery (Doc. No. 21), filed Novem ber 18, 2008, was dism issed as
prem ature by the undersigned by Decision and Order entered Septem ber 24, 2009 (Doc. No. 29). W hy
Defendants found it necessary in m oving for sum m ary judgm ent on July 12, 2010, to also address a
m otion filed by Plaintiff that was resolved by the court nine m onths earlier is unclear.

        4
            Defendants have not used num bers or letters to separately denom inate their exhibits.

                                                       4
        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 5 of 10




Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 250-51 (1986); Hicks v. Baines, 593 F.3d 159, 166 (2d Cir. 2010). The party

moving for summary judgment bears the burden of establishing the nonexistence of any

genuine issue of material fact and if there is any evidence in the record based upon any

source from which a reasonable inference in the non-moving party's favor may be

drawn, a moving party cannot obtain a summary judgment. Celotex, 477 U.S. at 322.

       Fed. R. Civ. P. 56(e) requires that

       When a motion for summary judgment is made and supported as provided in this
       rule, an adverse party may not rest upon the mere allegations or denials of the
       adverse party's pleading, but the adverse party's response, by affidavits or as
       otherwise provided in this rule, must set forth specific facts showing that there is
       a genuine issue for trial. If the adverse party does not so respond, summary
       judgment, if appropriate, shall be entered against the adverse party.

“[F]actual issues created solely by an affidavit crafted to oppose a summary judgment

motion are not 'genuine' issues for trial." Hayes v. N.Y. City Dep't of Corr., 84 F.3d 614,

619 (2d Cir.1996).

       In the instant case, Plaintiff asserts the same claim against each Defendant, i.e.,

that Defendants unlawfully planted illegal narcotics in a vehicle in which Plaintiff had

been a passenger, which were found during an inventory search subsequent to

Plaintiff’s arrest on the felony weapons charge, and then arrested and prosecuted

Plaintiff for possession of the drugs and use of a firearm in furtherance of drug

trafficking based on the presence of the drugs in the vehicle. Complaint, First Claim

(asserted against Defendant Rice); Second Claim (asserted against Defendant Pero).

According to Plaintiff, because no drugs were discovered in the vehicle when it was

initially searched at the scene of the arrest, the drugs must have been placed in the


                                             5
            Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 6 of 10




vehicle by Defendants during an inventory search of the vehicle after it was towed to by

the RPD and impounded. Id. In support of summary judgment on his claims, Plaintiff

relies on statements made by one “Springer” who’s testimony at a deposition in

connection with Plaintiff’s criminal action explained that the vehicle was towed

according to RPD policy and an inventory search conducted, Springer Deposition

Transcript at 799-801 (Plaintiff’s Exh. B), and the RPD Investigative Action Report

indicating “[a] brief search was conducted [of the vehicle] for possible weapons” the

results of which were “negative.” Plaintiff’s Exh. 7.5

        Preliminarily, the court addresses the fact that Plaintiff references both the

Fourth and Fourteenth Amendments as the constitutional source of his rights allegedly

violated by his false arrest and subsequent malicious prosecution. Complaint, First

Claim and Second Claim. “[T]he Supreme Court, however, has repeatedly held that

‘[w]here a particular Amendment provides an explicit textual source of constitutional

protection’ against a particular source of government behavior, ‘that Amendment, not

the more generalized notion of ‘substantive due process,’ must be the guide for

analyzing these claims.’” Bryant v. City of New York, 404 F.3d 128, 135-36 (2d Cir.

2005) (quoting Albright v. Oliver, 510 U.S. 266, 273 (1994) (plurality opinion)). It is well-

established that the Fourth Amendment is the constitutional source of protection

against both false arrest and malicious prosecution. See Bryant, 404 F.3d at 136

(analyzing both false arrest and malicious prosecution claims under the Fourth

Amendment, rather than the Fourteenth Amendment which plaintiff had asserted as the


        5
           Plaintiff does not explain why he denom inates his fourth exhibit as “Exibit [sic] 7," when, based
on the letter labels used for Plaintiff’s other exhibits, it is apparent the exhibit should be labeled “Exhibit D.”

                                                         6
        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 7 of 10




constitutional basis for such § 1983 claims). In the instant case, the court will similarly

analyze Plaintiff’s false arrest and malicious prosecution claims under the Fourth

Amendment.

       With regard to Plaintiff’s claim of unlawful arrest, the court observes that Plaintiff

when the Superseding and Second Superseding Indictments charging Plaintiff with

possession were returned, respectively, on August 10 and 24, 2006, Plaintiff was

already detained in federal custody pursuant to the March 10, 2006 Order of Detention

Pending Trial (05-CR-6142, Doc. No. 25), on the felon in possession of a firearm

charge. As such, Plaintiff was never arrested in connection with the new charges of

possession with intent to distribute (Count 2), and possession of a firearm in

furtherance of a drug trafficking crime (Count 3), and there is therefore no need to

determine whether probable cause existed if Plaintiff had in fact been rearrested on

these charges. In any event, the Superseding and Second Superseding Indictments

would have provided the requisite probable cause. McClellan v. Smith, 439 F.3d 137,

145 (2d Cir. 2006) (indictment presumptively establishes probable cause). Here, the

absence of any evidence in the record to overcome this presumption establishes

probable cause to arrest Plaintiff. Id.

       Accordingly, summary judgment to Defendants is GRANTED insofar as Plaintiff

alleges unlawful arrest.

       With regard to Plaintiff’s malicious prosecution claim, all three charges in the

Second Superseding Indictment on which Plaintiff was prosecuted arose out of the

same events and subsequent investigation of the same crime. As such, the dismissed

drug possession with intent to distribute and possession of a firearm in furtherance of a

                                              7
        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 8 of 10




drug trafficking crime charges (Counts 2 and 3) are not sufficiently distinct from the

felon in possession of a firearm charge (Count 1) to allow Plaintiff’s malicious

prosecution claim to proceed. See Thompson v. Grey, 2009 WL 2707397, at * 5

(E.D.N.Y. Aug. 26, 2009) (dismissing plaintiff’s claims for malicious prosecution on two

counts of weapons possession when plaintiff was convicted on another weapons

possession charge, as well as on a murder charge, all arising out of the same criminal

event and subsequent investigation of the same crime scene).

       Moreover, to establish a § 1983 malicious prosecution claim, the Second Circuit

requires the following elements:

       (1) that the defendant initiated a prosecution against the plaintiff, (2) that the
       defendant lacked probable cause to believe the proceeding could succeed, (3)
       that the defendant acted with malice, . . . (4) that the prosecution terminated in
       plaintiff’s favor, . . . [and] (5) a sufficient post-arraignment liberty restraint to
       implicate the plaintiff’s Fourth Amendment rights.

Rohman v. New York City Transit Authority, 215 F.3d 208, 215 (2d Cir. 2000) (citing
cases).

Significantly, “[t]he Fourth Amendment right implicated in a malicious prosecution action

is the right to be free of unreasonable seizure of the person - i.e., the right to be free of

unreasonable or unwarranted restraints on personal liberty. A plaintiff asserting a

Fourth Amendment malicious prosecution claim under § 1983 must therefore show

some deprivation of liberty consistent with the concept of ‘seizure.’” Id. (citing Murphy

v. Lynn, 118 F.3d 938, 944-46 (2d Cir. 1997), and Singer v. Fulton County Sheriff, 63

F.3d 119, 116 (2d Cir. 1995)). “[S]ince the gist of a claim for malicious prosecution is

abuse of the judicial process, a plaintiff pursuing such a claim under § 1983 must show

that the seizure resulted from the initiation or pendency of judicial proceedings.”


                                              8
        Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 9 of 10




Murphy, 118 F.3d at 944.

       In the instant case, the record establishes that Plaintiff was continually held in

the custody of the RPD from the time of his arrest on the weapons possession charge

on April 22, 2005, through the conclusion of the trial on such charge on February 7,

2007. Specifically, Plaintiff was initially held after his arrest on the criminal weapons

possession charge, for which Plaintiff was, subsequent to his October 18, 2005

arraignment on the original Indictment solely on the criminal weapons charge, ordered

detained pursuant to 18 U.S.C. § 3142(e), based on a perceived serious risk of danger

to the safety of another person or to the community should Plaintiff be released prior to

trial , which detention was subsequently extended by the March 10, 2006 Order of

Detention Pending Trial (05-CR-6142, Doc. No. 25). It is significant that the Order of

Detention Pending Trial ordering Plaintiff’s continued detention pursuant to 18 U.S.C. §

3142(e) was filed on March 10, 2006 (05-CR-6142, Doc. No. 25), several months

before the Superseding and Second Superseding Indictments charging Plaintiff with

drug possession with intent to distribute (Count 2) and possession of a firearm in

furtherance of a drug trafficking crime (Count 3) were filed in August 2006.

       All the orders pertaining to Plaintiff’s detention pending trial thus were issued

when the only criminal charge pending against Plaintiff was the criminal weapons

possession charge of which Plaintiff was convicted. In other words, even in the

absence of the Superseding and Second Superseding Indictments charging Plaintiff

with drug possession with intent to distribute (Count 2) and possession of a firearm in

furtherance of a drug trafficking crime (Count 3), for which Plaintiff was acquitted,

Plaintiff would still have endured a deprivation of his liberty as a result of the detention

                                              9
          Case 1:07-cv-00230-LGF Document 38 Filed 03/31/11 Page 10 of 10




order pertaining solely to the weapons possession charge (Count 1). Plaintiff is thus

unable to establish the fifth element of a malicious prosecution claim, i.e., that Plaintiff,

based on his prosecution on Counts 2 and 3, endured “a sufficient post-arraignment

liberty restraint to implicate the plaintiff’s Fourth Amendment rights.” Rohman, 215 F.3d

at 215.

       Summary judgment on Plaintiff’s malicious prosecution claim is thus GRANTED

in favor of Defendants, and DENIED as to Plaintiff.



                                       CONCLUSION

       Based on the foregoing, Defendants’ motion for summary judgment (Doc. No.

30), is GRANTED; Plaintiff’s crossmotion for summary judgment (Doc. No. 33), is

DENIED. The Clerk of the Court is directed to close the file.

SO ORDERED.
                                                   /s/ Leslie G. Foschio

                                                   LESLIE G. FOSCHIO
                                           UNITED STATES MAGISTRATE JUDGE

DATED:         March 31, 2011
               Buffalo, New York


       Any appeal of this Decision and Order to the United States Court of

       Appeals for the Second Circuit, New York, New York, must be filed within

       thirty (30) days of the date of judgment in accordance with Fed.R.App.

       4(a)(1)(A) and (c).




                                              10
